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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                        CRIMINAL 13-0534CCC
30) CARLOS ORTIZ-HERNANDEZ,
a/k/a “Starman” (Counts ONE
through SIX)
Defendant



                                  ORDER

     Having considered the Report and Recommendation filed on
September 15, 2014 (docket entry 1882) on a Rule 11 proceeding of
defendant [30] Carlos Ortiz-Hernández before U.S. Magistrate-Judge
Camille L. Vélez-Rivé on September 3, 2014, to which no objection has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently
entered with awareness of his rights and the consequences of pleading guilty
and contains all elements of the offense charged in the indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since September 3, 2014. The sentencing
hearing is set for December 2, 2014 at 4:40 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
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Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on October 22, 2014.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
